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                  EXHIBIT E
WP Engine Reprieve – WordPress News                                                  https://wordpress.org/news/2024/09/wp-engine-reprieve/
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              September 27, 2024
              By Matt Mullenweg in Community, Meta, Security, Updates




              WP Engine Reprieve

              I’ve heard from WP Engine customers that they are frustrated that WP Engine hasn’t been able to make
              updates, plugin directory, theme directory, and Openverse work on their sites. It saddens me that
              they’ve been negatively impacted by Silver Lake‘s commercial decisions.


              On WP Engine’s homepage, they promise “Unmatched performance, automated updates, and
              bulletproof security ensure your sites thrive.”


              WP Engine was well aware that we could remove access when they chose to ignore our efforts to
              resolve our differences and enter into a commercial licensing agreement. Heather Brunner, Lee
              Wittlinger, and their Board chose to take this risk. WPE was also aware that they were placing this risk
              directly on WPE customers. You could assume that WPE has a workaround ready, or they were simply
              reckless in supporting their customers. Silver Lake and WP Engine put their customers at risk, not me.


              We have lifted the blocks of their servers from accessing ours, until October 1, UTC 00�00. Hopefully
              this helps them spin up their mirrors of all of WordPress.org’s resources that they were using for free
              while not paying, and making legal threats against us.




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